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                                         MINUTES



   CASE NUMBER:             CIVIL NO. 18-00192LEK-KSC
   CASE NAME:               Venice PI, LLC, et al. Vs. Doe 1, doing business as
                            showboxappdownload.com, et al.
   ATTYS FOR PLA:
   ATTYS FOR DEFT:
   INTERPRETER:


         JUDGE:       Leslie E. Kobayashi            REPORTER:

         DATE:        05/25/2018                     TIME:


  COURT ACTION: EO: COURT ORDER REGARDING PLAINTIFFS’ APPLICATION
  FOR ENTRY OF TEMPORARY RESTRAINING ORDER AND PRELIMINARY
  INJUNCTION

         On May 23, 2018, Plaintiffs Venice PI, LLC; Headhunter, LLC; MON, LLC; LHF
  Productions, Inc.; Cook Productions, LLC; Colossal Movie Productions, LLC; Automata
  Productions, Inc.; Criminal Productions, Inc.; Clear Skies Nevada, LLC; Bodyguard
  Productions, Inc.; I.T. Productions, LLC; SVZ Productions, Inc.; Splintered, LLC;
  Cobbler Nevada, LLC; and Justice Everywhere Productions, Inc. (collectively
  “Plaintiffs”) filed their Complaint and Application for Entry of Temporary Restraining
  Order and Preliminary Injunction (“TRO Motion”). [Dkt. nos. 1, 4.] This Court defers
  consideration of Plaintiffs’ request for a preliminary injunction until after their request for
  a TRO is resolved.

          The defendants in this case are Does 1 through 10. Thus, no service of the
  Complaint has been completed, and the defendants have not received notice of the TRO
  Motion. Fed. R. Civ. P. 65(b)(1) sets forth the requirements that must be met before a
  TRO is issued without notice to the adverse party. It appears Plaintiffs’ TRO Motion
  does not sufficiently address Rule 65(b)(1)(B), which requires Plaintiffs’ counsel to
  “certif[y] in writing any efforts made to give notice [to Does 1 through 10] and the
  reasons why it should not be required.” Thus, it does not appear that a TRO can be issued
  in this case without notice to the defendants.

         This Court DIRECTS Plaintiffs to supplement their TRO Motion with counsel’s
  written certification addressing the requirements in Rule 65(b)(1)(B). Plaintiffs’
  supplement is due by June 8, 2018.
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         If Plaintiffs fail to file a supplement by June 8, 2018, or if their supplement does
  not satisfy the requirements in Rule 65(b)(1)(B), the TRO Motion will be denied. The
  denial would be without prejudice to the filing of either a new motion that complies with
  Rule 65(b)(1) or a new motion filed after the identification of, and service upon, one or
  more of the Doe defendants.

          This Court expresses no opinion on the issue of whether Plaintiffs’ TRO Motion
  satisfies the other Rule 65(b)(1) requirements and the general TRO standards. If
  Plaintiffs’ supplement satisfies the Rule 65(b)(1)(B) requirements, this Court will analyze
  the remainder of the TRO Motion.

         IT IS SO ORDERED.

  Submitted by: Warren N. Nakamura, Courtroom Manager
